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                                                   8                       UNITED STATES DISTRICT COURT
                                                   9                      CENTRAL DISTRICT OF CALIFORNIA
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                                                  11   SECURITIES AND EXCHANGE                       Case No. 2:21-cv-02927-CAS(GJSx)
KATTEN MUCHIN ROSENMAN LLP




                                                       COMMISSION,
                                                  12                                                 [PROPOSED] ORDER GRANTING
                                                                   Plaintiff,                        MOTION OF RECEIVER
                             525 W. MONROE ST.
                              CHICAGO, IL 60661




                                                  13                                                 MICHELE VIVES TO DIRECT
                               (312) 902‐5200




                                                             v.                                      CLERK TO RELEASE FUNDS
                                                  14                                                 FROM COURT REGISTRY
                                                       ZACHARY J. HORWITZ; and 1inMM                 INVESTMENT SYSTEM
                                                  15   CAPITAL, LLC,
                                                  16               Defendants.
                                                  17

                                                  18         Upon consideration of the Motion of Receiver Michele Vives to Direct Clerk
                                                  19   to Release Funds from Court Registry Investment System, dated March 2, 2022 (the
                                                  20   “Motion”); the Court, having jurisdiction to hear and determine the Motion, has
                                                  21   reviewed the Motion and accompanying memorandum of points and authorities in
                                                  22   support thereof, and concluded that all parties in interest have due and sufficient
                                                  23   notice of the Motion; after due deliberation and consideration of the Motion, and
                                                  24   there being good cause to grant the relief provided herein; it is, pursuant to the
                                                  25   Court’s power to supervise equity receiverships and all other powers in that behalf
                                                  26   so enabling, hereby ORDERED:
                                                  27         1.    The Motion is GRANTED.
                                                  28   ///
                                                                                                                     Case No. 2:21-cv-02927-CAS(GJSx)
                                                                                    [PROPOSED] ORDER GRANTING MOTION OF RECEIVER MICHELE VIVES
                                                                                          TO DIRECT CLERK TO RELEASE FUNDS FROM COURT REGISTRY
                                                  Case 2:21-cv-02927-CAS-PD      Document 84 Filed 03/15/22           Page 2 of 2 Page ID
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                                                   1         2.     The Clerk is hereby ordered and directed to immediately disburse the
                                                   2   sum of $1,417,517.16—presently on deposit with the Court Registry Investment
                                                   3   System as evidenced by the receipt noted on the financial entry docketed at ECF
                                                   4   #37—to Michele Vives, in her capacity as Receiver for Defendants, by (i) certified
                                                   5   check or (ii) wire instructions to be provided by the Receiver. The Receiver shall
                                                   6   contact the Fiscal Department.
                                                   7         3.     The Court retains exclusive jurisdiction to hear and determine any
                                                   8   disputes arising out of or relating to this order.
                                                   9    Dated: March 15, 2022                     _
                                                  10
                                                                                                  __________________________________
                                                  11                                              United States District Judge
KATTEN MUCHIN ROSENMAN LLP




                                                  12
                             525 W. MONROE ST.




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                              CHICAGO, IL 60661
                               (312) 902‐5200




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                                                                                                                       Case No. 2:21-cv-02927-CAS(GJSx)
                                                                                      [PROPOSED] ORDER GRANTING MOTION OF RECEIVER MICHELE VIVES
                                                                                            TO DIRECT CLERK TO RELEASE FUNDS FROM COURT REGISTRY
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